Case 1:19-cv-00122-DCN Document 3 Filed 04/11/19 Page 1 of 5

Case No: lnmale Name:m%/J/O"¢///FL`AH..

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UNITED STATES DISTR_ICT COURT APR 1 1 2019
Rcvd Filed___Time
FOR THE DISTR_ICT OF IDAHO STEPHEN W. KENVON

CLERK. DlSTRlCT OF |DAHO

… CHSSNO' ll ‘q_w, \w_ ibm

Plainf`iff, (to be assign ed by Courl)

V.

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Jury 'l`rial Requested: Bv Yes _Q I\lo

 

Defendant(s).

(z`fyou need additional space, use a blank page
for a continuation page)

 

 

A. JURISDICTION

The United States Dism`ct Court for the Distn'ct of ldaho has jurisdiction over my claims under:
(check all that ap

p/y)r
42 U.S.C. § 1983 (applies lo s/a!e, comxry, or city defendanl:)
Bz'vens v. Sz')c Unknown NamedAgents ofFed. Bureau of Narcotz'cs, 403 U.S. 388
(197]) and 28 U.S.C. § 1331 (applles lofederalgovernmen! a’efendanl.r on/y)

_[;]_ Other federal statute (specify) ; or diversity of citizenship

_1:]_ Ialso ask the federal court to exercise supplemental jurisdiction over state
law claims

B. PLA.U`JTLFF

1

My name is " L) ' . Iam a citizen of the State of . ,
presently residing at -IClDl/\(') §JZLX(`@ [:D{\p€(il"® V\QL\ :CVlSH'&L)'El(O\/`\ '

PRISONER COMPLA!NT ~ p.1_ (Rev. /0/24/201/)

mr

 

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C. nnFENnANr(s) AND cAUsE(s) lon AcrroN

(Copy and nrc a separalepagefor each defendani and each dlffereni type ofc/aim;for erample, ifyou have two different
claims agalnrl one defendani, you will use !wo pages. Allach a conlinuallon page i/`needed, bul fry lo be b)'lef)

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l. l am suing \C'.'D , Who was acting as

(defendani) (/'ob lille, ifa person,‘funolion, ifan enlity)

for the j"Cl/)i/\`(‘\ Dcml\\'hr\EFL`L `/_*,\Q ph f‘-l‘lrd[‘)€\£'l 03

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2. (Faca,az sain ofc/aim) lam complaining that on WMMUMM did
(dales)

the following (srale how Defendanlparriclpaled in lhe violation and include me reason Defendanl so aaled lfknown):

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3. (L aga/sam ofclatm)l allege that the acts described above violated the following provisions cf the

Con `tuti n, federa statutes, or state laws: t l l v ,
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4. lallege atIsnffere` the following injury or`darnages as'a result §
, _, 1 v E. .F;,_\; m:g _!::
_+o/\Q\,\Pc/, %(»n:l§l %\%.Erl?rg@j §§ ‘=:~>

5. I seek the folio(\ 'ng relief:
la 7 "

 

 

       

6. I am Slling DCfCDdaJJlZ in his/her EpCI'SODal Ctlpacil.’y (maney damages/rom Defendanlpersonally), BDd/OI‘
|:} OfHCiBl CapBCity (seeking an orderfor Defendanl l ac or stop acling in a certain way,' or money dam ages]$~om an
eni/ly because ofDefendanl'; acls, as allowed by iaw); OIMJCfCDdaDt iS an Bnti'fy (governmen/ orprivale basin ess).

. For this claim, l exhausted the grievance system Within the jail or prison in Which I am incarcerated
Yes _Q_No. lf“Yes,” briefly explain the steps taken to exhaust; if “Ne,” briefly explain why full

jail or prison grievance re eclies Were not exhausted §S&"‘_H_ SDb/),Z,I,Lfeci) 2 j ,wn

§n/`ei/MC€, on €f'l CUcz nicely/§qu l

PRISONER COMPLAJNT - p. 2_ (Rev. /0/24/201/)

 

 

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c. DEFENDANT(s) Ar~n) cAUsE(s) oF AcrroN

(Copy and use a separate pagefor each defendant and each different type ofclaim, for examp/e, tfyou have two different
claims against one defendant, you will use two pages. Attach a continuation page tfneeded, but try to be brief)

l. lam suing Por\a 5(~1@1 @(\~k" , who was acting as lleéli'i'i'\ S@V‘\)\'CC__QQ\[‘£Q-iqu`“

(defendant) ‘J (/ob lttle ifa person, function, ifan enti/y)

mix ome/nan audience

(.rtate, conniy. city, federal gori ernm eat or private entity performing a publicfunction)

 

2. (Faclual anl.v ofCiaim) 1 B.IIi COmpiainiDg that 011 ' Dda.ni did
(dates)
the fOiiOWillg (.rtate how Defendan participated tn the violation and include the reason Defendant so acted lf/cnown):
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3. (Lega/aarn ofc/arm) l allege that the acts described above violated the following provisions of the

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5. I seek the following relief:

 

 

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Oi`flciai OBpBCi'Cy (.vee/clng an orderfor Defendant to actor stop acting in a certain way,' or money damages-from an
entity because ofDefendan/' s acts as allowed by law), OI[:] D€fendallf 18 an entity (government or private business).

7. or this claim, I exhausted the grievance system within the jail or prison in which I am incarcerated
Yes Q_No if “Yes,” briefly explain the steps taken to exhaust; if‘ 0,” briefly explain why hill
jail or prison grievance remedies were not exhausted j_" $Ob()/l_l y\/])

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D. PREvroUS on PnNDn\iG LAwsUirs '

I have pursued Ol' am DOW pUISUl.Dg the fOliO\VlIJg OthCl‘ laWSUltSZ (inciude (l) ali lawsuits in slate orfea'era/
court related to the subject matter ofihis action, and (2) anyfedera/ court civil rights Iawsults, related or unrelated, and
note whether you have received a strike under 28 U.S.C. § I9l5(g)f0r/iilng a complaint that isfrivolaus. malicious, orfaiis
to slate a claim upon which reliefcan be granted.)

Coup?t Case No. Case N me Status of C'ase Strike'?
6 ,7 'V ?
d

 

 

E. REQUEST FOR APPOI.NTl\/[ENT OF ATTORNEY

I dp£§ do not § § request that an attorney be appointed to represent me in this matter. l believe that
I a in need of an attorney for these particular reasons which make it difficult for me to pursue this
matter without an tto ey: ‘

     
 

 

 

 

F. DECLARATION UNDER PENALTY OF PERJURY
I declare under penalty of pcijuiy:

that l am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct 28 U.S.C. § 1746; 18 U.S.C. § 1621; and

that I de csited this complaint postage prepaid in a United States postal depository unit on
zél§ [§f (date); OR that I gave the complaint to p `s n o cials for mailing and iiling with the
le Of COLlI"i linder file indigent ll'm')B.tC pO]iCy 011 (date),' OR (speci/y other method)

Executed at :_SC: on A//// §

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ta your compiainl, such osyour only grievance copy. Do not attach more than 25 pages ofexhibiisr Ifyou have more
exhibits, wait until the Court determines you can proceed and then seek leave tofile lhem_for an appropriate purpose After
your complaint has been/i/ed, il must be reviewed by afederaijudge to determine whether you can proceed.

 

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